Exhibit 3

USWGO
QANON // DRAIN THE SWAMP

W.G.O.

PETITION FOR WRIT OF HABEAS CORPUS
MARTINSVILLE GENERAL DISTRICT COURT CASE NO, C18-3138
MARTINSVILLE CIRCUIT COURT CASE NO. CR19000009-00

    

Exhibit in attachment to “BRIEF AND EXHIBITS IN SUPPORT OF PETITION FOR
WRIT OF HABEAS CORPUS”

Case 1:123-cr-00435-TDS Document 221-4 Filed 11/20/19 Pane 1 of 3
Exhibit 2

USWGO
QANON // DRAIN THE SWAMP
MAKE AMERICA GREAT AGAIN

 

UNITED STATES DISTRICT COURT CASE NO. 1:13-CR-435-1
MIDDLE DISTRICT OF NORTH CAROLINA

Exhibit in attachment to “PETITIONER’S SECOND MOTION FOR SANCTIONS
AND TO VACATE JUDGMENT THAT WAS IN PLAINTIFF’S/RESPONDENT’S
FAVOR -- MOTION AND BRIEF / MEMORANDUM OF LAW IN SUPPORT OF
REQUESTING THE HONORABLE COURT IN THIS CASE VACATE
FRAUDULENT BEGOTTEN JUDGMENT OR JUDGMENTS”

Case 1:13-cr-00435-TDS Document 206-2 Filed 10/15/19 Paae 1 of 2
Case 1:123-cr-00435-TDS Document 221-4 Filed 11/20/19 Pane ? of 32
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Case 1:123-cr-00435-TDS Document 221-4 Filed 11/20/19 Pane 2 of 3
